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                               Nevada Bar No. 9359
                    2          LAW OFFICE OF TELIA U. WILLIAMS
                    3          10161 Park Run Drive, Suite 150
                               Las Vegas, Nevada 89145
                    4          Tel: (702) 835-6866
                               telia@telialaw.com
                    5          Attorney for Defendant
                               Nicole Nowak
                    6

                    7                                       UNITED STATES DISTRICT COURT

                    8                                                DISTRICT OF NEVADA

                    9           UNITED STATES OF AMERICA,
                                                                              Case No.: 2:17-cr-325-RFB-VCF
                  10

                  11                                    Plaintiff,

                  12           vs.                                              STIPULATION AND ORDER TO
                                                                                CONTINUE SENTENCING
                  13           NICOLE ELIZABETH NOWAK,
                  14                                    Defendant.              (FIRST REQUEST)
                  15

                  16

                  17                 IT IS HEREBY STIPULATED AND AGREED by and between Telia U. Williams, Esq.,

                  18          counsel for the defendant, NICOLE ELIZABETH NOWAK, and Phillip N. Smith, Jr., Esq., Assistant

                  19          United States Attorney, counsel for the United States of America, that the sentencing hearing currently

                  20          scheduled for Thursday, March 8, 2018 at 2:15pm, be vacated and continued to the next day, Friday,

                  21          March 9, 2018, at 3:30pm. A proposed order is attached herein.

                  22                 This Stipulation is entered into for the following reasons:

                  23                     1. Undersigned counsel has been attempting for several weeks to negotiate the

                  24                         compressed schedule of an expert psychiatrist, Norton Roitman, M.D., to evaluate the

                  25                         defendant, Nicole Nowak, in time for her sentencing;

                  26                     2. Dr. Roitman intends to visit with Ms. Nowak this week, if possible, but will need an

                  27                         additional day to provide a report to Ms. Nowak’s counsel, and for said counsel to

                  28                         incorporate the same into a sentencing memorandum, if appropriate;
 LAW OFF ICE OF T ELIA U .
         WILLIA MS
 10161 PA RK RUN D RIVE ,
         SUIT E 150
LAS V EGA S, NE VADA 89 145
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                    1                 3. For confidential reasons that ought not be detailed in this stipulation, in Ms. Nowak’s

                    2                     counsel’s estimation, Dr. Roitman is the most suitable professional to evaluate Ms.

                    3                     Nowak, and a substitute for him would not be comparable;

                    4                 4. At the same time, counsel for the United States and Ms. Williams, agree that a

                    5                     continuance of greater than one (1) day would not be suitable due to anticipated

                    6                     complicated scheduling conflicts of counsel, the plans of Ms. Nowak’s family and

                    7                     friends to attend the hearing. Nor would a longer continuance be prudent for

                    8                     confidential reasons involving Ms. Nowak;

                    9                 5. In addition, as aforementioned, Ms. Nowak expects to invite family and/or other

                  10                      supporters to her Sentencing Hearing on March 9, who, due to work obligations,

                  11                      cannot arrive prior to 3pm, and at least one of them, is expected to speak in her

                  12                      behalf. For this reason, it is requested that the hearing commence at 3:30pm.

                  13                  6. Counsel for the United States has no objection to this continuance.

                  14                  7. The defendant is in custody, and does not object to the continuance.

                  15                  8. This is the first request for a continuance of the sentencing date.

                  16                      Dated this 26th day of February, 2018.
                  17
                                                                                   Respectfully submitted,
                  18

                  19

                  20                                                                 Telia U. Williams, Esq.
                                                                                     LAW OFFICE OF TELIA U. WILLIAMS
                  21                                                                 10161 Park Run Drive, Suite 150
                                                                                     Las Vegas, NV 89145
                  22                                                                 Attorney for defendant, Nicole Nowak
                                   UNITED STATES ATTORNEY
                  23
                                   /s/ Phillip N. Smith, Jr.
                  24
                                   ____________________________
                  25               DAYLE ELIESON
                                   Phillip N. Smith, Jr.
                  26               Assistant United States Attorney
                                   Attorney for plaintiff, the United States
                  27

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 LAW OFF ICE OF T ELIA U .                                                     2
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                    1                                          UNITED STATES DISTRICT COURT

                    2                                                  DISTRICT OF NEVADA

                    3

                    4          UNITED STATES OF AMERICA,                                Case No. 2:17-cr-325-RFB-VCF

                    5                                    Plaintiff,                      ORDER TO CONTINUE SENTENCING
                                                 vs.                                     DATE
                    6

                    7          NICOLE ELIZABETH NOWAK,

                    8                                    Defendant.

                    9                                                     FINDINGS OF FACT

                  10                     Based on the Stipulation of counsel, and good cause appearing therefore, the court finds that
                  11          the Stipulation by and between the United States and Nicole Nowak is entered into for the following
                  12
                              reasons:
                  13
                                         1.     Defense counsel needs additional time to obtain the report of an expert witness, which
                  14
                              she expects to incorporate into a sentencing memorandum for the upcoming sentencing hearing.
                  15

                  16                     2.     The defendant asks for a later time setting in order to accommodate the work

                  17          schedule of a supporter who anticipates speaking in her behalf.

                  18                     3.     The parties agree to the additional time, and specifically request a re-setting to March
                  19
                              9, 2018, at 3:30pm.
                  20
                                         4.     The defendant is in custody and does not object to the continuance.
                  21
                                         5.     This is the first request for a continuance of the sentencing date.
                  22
                                         6.     Additionally, denial of this request for continuance could result in a miscarriage of
                  23

                  24          justice.

                  25                     For all of the above-stated reasons, the end of justice would best be served if defendant’s
                  26          sentencing was rescheduled.
                  27

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                    1                                                    ORDER
                    2               IT IS ORDERED that the sentencing hearing currently scheduled for March 8, 2018, at
                    3
                                                                        March 9
                              2:15pm, be vacated and continued to __________________                       3:30 PM
                                                                                     2018, at the hour of ____________.
                    4         in LV Courtroom 7C.
                    5
                                               26th
                                    DATED this ____day of February, 2018.
                    6

                    7

                    8
                                                                                ________________________________
                    9                                                           RICHARD F. BOULWARE, II
                                                                                UNITED STATES DISTRICT JUDGE
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 LAW OFF ICE OF T ELIA U .                                                  4
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